            Case 2:18-cv-00331-RMP                   ECF No. 34          filed 09/03/19     PageID.186 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                  for the_                                          U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                     ALYSSA VOUGAS,                                                                           Sep 03, 2019
                                                                                                                   SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:18-CV-331-RMP
              SUTTELL AND HAMMER, PS.,                               )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Partial Summary Judgment, ECF No. 20, is DENIED.
’
              Defendant’s Motion to Strike, ECF No. 23, is DENIED AS MOOT.
              Defendant’s Motion for Summary Judgment, ECF No. 12, is GRANTED.
              Judgment is entered for Defendant.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             ROSANNA MALOUF PETERSON                                          on motions for
      Summary Judgment (ECF Nos. 12 and 20)


Date: 09/03/2019                                                            CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
